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                                            UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                                Case No. 19-cr-80030-WPD

                UNITED STATES OF AMERICA

                vs.

                AARON SINGERMAN,

                               Defendant.
                ---------------I
                                  FACTUAL PROFFER IN SUPPORT OF GUILTY PLEA

                       The United States of America and AARON SINGERMAN (the "Defendant"), agree that

                were this case to proceed to trial, the United States would proye the following facts beyond a

                reasonable doubt. They further agree that these are not all of the facts that the United States would

                prove if the case proceeded to trial, but are sufficient to prove the charges of: introduction of

                unapproved new drugs into interstate commerce (Count 3) and conspiracy to manufacture and

                distribute a controlled substance (Count 4).

                                                           Summary

                       The Defendant co-owned and controlled Blackstone Labs, LLC ("Blackstone"), a Florida

                corporation that distributed products labeled as dietary supplements, many of which were illegal

                under federal law. The Defendant, Phillip Braun ("Braun"), and a co-conspirator incorporated

                Blackstone for the specific purpose of obscuring the sale of products marketed as dietary

                supplements that were tainted with anabolic steroids and therefore could not lawfully be sold. As .

                a co-owner and CEO of Blackstone, the Defendant directed Blackstone and agents of Blackstone.

                In May 2016, the Defendant ceased to be CEO of Blackstone, but continued to earn monthly

                income from Blackstone as a co-owner. In2018, the Defendant sold his 35% share of the company

                to another individual to satisfy a debt.
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                         While running Blackstone and enriching himself, the Defendant knowingly sold and

                  directed others to sell unapproved new drugs, with the intent to defraud or mislead, in violation

                  of the Food, Drug, and Cosmetic Act ("FDCA"), Title 21, United States Code, Sections 331(d),

                  355(a), 333(a)(2), and Title 18, United States Code, Section 2. From in or around December

                  2014, through in or around September 2016, in the Southern District of Florida, and elsewhere,

                  Defendant knowingly conspired and agreed with others to manufacture and distribute controlled

                  substances, namely, multiple anabolic steroids, in violation of Title 21, United States Code,

                  Sections 841(a)(l), 841(b)(l)(E), and 846.

                                Defendant and His Co-Conspirators Founded Blackstone Labs to Sell
                                               Supplements Tainted with Steroids

                         In August 2012, the Defendant worked as director of marketing for a company owned by

                  Robert DiMaggio ("DiMaggio"), selling products labeled as dietary supplements. Defendant

                  Phillip Braun worked with Defendant at that company. The company had been selling a product
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                  to consumers, Super DMZ RX 2.0, which contained 17b-hydroxy 2a, 17b-demthyl 5a-androstan

                  3-one azine, also known as dimethazine or dymethazine and 2, 17a-dimethyl-17b-hydroxy-5a-

                  androst-1-en-3-one, also known as methylstenbolone, each of which was a synthetic steroid. The

                  Defendant and his co-conspirators frequently referred to these chemicals and other similar

                  chemicals as "designer steroids" or "prohormones." The Defendant and Braun knew dimethazine

                  and methylstenbolone were the two key ingredients in the product and that Super DMZ RX 2.0

                  was marketed as promoting muscle growth. For a product like Super DMZ RX 2.0 to be a legally

                  labeled a "dietary supplement" under the FDCA, it had to contain legal "dietary ingredients."

                  Defendant knew that dimethazine and methylstenbolone were synthetic substances designed to

                  build muscle and were not dietary ingredients as defined in the FDCA. Defendant further knew
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                  that Super DMZ RX 2.0 was being illegally marketed as a dietary supplement.


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           To reduce the likelihood of the FDA investigating or negatively affecting Robert

    DiMaggio's existing business, Defendant incorporated Blackstone with Phillip Braun and Robert

    DiMaggio to continue the illegal sale of Super DMZ RX 2.0. While the Defendant, Braun, and

    DiMaggio were co-owners of Blackstone, they agreed that the Defendant and Braun would run

    day-to-day operations. This allowed the Defendant, Braun, and DiMaggio to earn a share of profits

    from the sales of the Super DMZ RX 2.0 product, while reducing Robert DiMaggio's exposure to

    law enforcement scrutiny and risk. The Defendant and Braun lived in South Florida and worked

    first out of a garage and then at Blackstone's office, which was located in Boca Raton. After

    receiving initial input from the DiMaggio, the Defendant and Braun ran Blackstone's day-to-day

    operations. DiMaggio remained an owner of the company until in or around May 2014, when he

    sold his ownership interest to the Defendant and Braun, which was later re-sold to a silent partner.

           The Defendant, Braun, and DiMaggio discussed the legal risks of starting this new

    company to sell illegal products. In an email dated January 16, 2013, DiMaggio advised the

    Defendant and Braun -to move their computer server offshore to avoid US law enforcement

    accessing their information. To conceal the illegal nature of Super DMZ RX 2.0 from consumers

    and the FDA, the Defendant, Braun, and DiMaggio used a website, www.superdmz.com, that

    falsely described the product as "l 00% legal," when the conspirators knew it was not legal because

    they were unapproved new drugs.

           In early 2013, Defendant, Braun, and DiMaggio found out that the FDA had discovered

    that certain products, including Super DMZ RX 2.0, were tainted with anabolic steroid

    methasterone, aka SuperDrol.

           In March 2014, the Defendant received and read FDA enforcement reports stating that a

    manufacturer of Blackstone's products had conducted a recall of Blackstone's steroid products,



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    Methadrol and Super DMZ RX 2.0. In emails dated March 13, 2014, the Defendant emailed

    DiMaggio and Braun seeking advice about how to respond after reviewing the FDA enforcement

    reports. The Defendant and Braun knew, as stated in the FDA enforcement reports, that the

    manufacturer recalled the products because they were unapproved new drugs, but the Defendant,

    Braun, and Blackstone continued selling the products.

           On or about September 26, 2014, with intent to defraud or mislead, the Defendant caused

    to be introduced into interstate commerce 400 bottles of Super DMZ RX 2.0, an unapproved new

    drug. That shipment was sent from the Southern District of Florida to Arkansas. In an email dated

    September 26, 2014, in which the Defendant was cc'ed, Braun instructed that the shipment "must

    go out today!"

           The Defendant and Braun also introduced, marketed, and distributed additional new steroid

    products for Blackstone, including Alpha-1 Max, which contained another designer steroid,

    methyl-1-etiocholenolol. In an email on April 17, 2013, the Defendant discussed with DiMaggio

    the steroid they included in Alpha-1 Max, stating, "PJ [Braun] and I are thinking about putting up

    the money to run a thousand of these" and describing the ingredient as "big gains ... harsh as hell."

    As Blackstone grew, the Defendant and Braun hired dozens of additional employees, including

    James Boccuzzi ("Boccuzzi"). Boccuzzi was experienced in selling products marketed as dietary

    supplements and worked as a manager of wholesale sales, ultimately becoming the director of

    sales at Blackstone.    Boccuzzi's job was to sell Blackstone's products to retail stores or

    distributors, including anabolic steroids and unapproved new drugs.

           The Defendant and Braun used Blackstone to advertise illegal products on the internet and

    through email and social media, falsely telling customers that the company's products were legal

    and were dietary supplements. Email advertising was a major component of Blackstone sales, and



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    the marketing emails repeatedly falsely claimed that "All our products are manufactured in FDA

    approved, registered, and inspected facility that maintains GMP [Good Manufacturing Practices]

    certification and follows all FDA guidelines." The Defendant, Braun, Boccuzzi and others knew

    that these statements to consumers we're false, and were intended to convince consumers to buy

    Blackstone products.    Blackstone advertisements also falsely stated that "Our pro-anabolic

    compounds are all third party independently lab tested before encapsulation" when the Defendant

    and Braun knew that their manufacturers, including Anthony Ventrella, were not testing the raw

    ingredients before encapsulation.

            The Defendant Conspired to Manufacture Illegal Products for Blackstone Labs, LLC and
                                      Other Comorate Entities

           In or around 2014, the Defendant, Braun, and other co-conspirators began manufacturing

    their own products through multiple corporate entities operating out of a warehouse close to

    Blackstone's offices in Boca Raton. In early 2014, the Defendant contacted a friend, Anthony

    Ventrella ("Ventrella"), about working for a new business to manufacture products for Blackstone

    and other companies. The Defendant informed Ventrella that the money to begin the company

    would come from the Defendant, Braun, and a third individual owner.

           The Defendant, Braun, and a third individual incorporated the company, Fight Pharm LLC,

    as a Florida limited liability corporation on or about April 16, 2014. Although the Defendant,

    Braun, and the third individual owner were the true owners of the company, Anthony Ventrella

    agreed to function as the nominal owner. Ventrella's name appeared on publicly available records,

    even though Ventrella did not truly own or control the company. In annual corporate reports filed

    with the State of Florida, Ventrella was listed as the chief executive officer of Fight Pharm.

    Concerning Fight Pharm's important business activities, Ventrella communicated regularly with

    and received direction from Defendant and Braun and, to a lesser extent, the third individual owner.


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           Fight Pharm manufactured and distributed products labeled as dietary supplements for

    Blackstone and also under FightPharm's own brand names. These included products that were

    illegal to distribute under federal law because they were unapproved new drugs and/or controlled

    substances.

           In or around November 2015, the Defendant, Braun, and Ventrella established another

    Florida limited liability corporation to manufacture dietary supplement products.             VBS

    Laboratories, LLC ("VBS"), which stood for the initials of the three owners, Ventrella, Braun, and

    the Defendant (Singerman), also manufactured products labeled as dietary supplements for

    Blackstone and other companies. These also included products that were illegal to distribute under

    federal law because they were unapproved new drugs and/or controlled substances. Fight Pharm

    and VBS were established, at least in part, to conceal Blackstone, the Defendant, and Braun's

    involvement in the illegal manufacturing and sales of unapproved new drugs and/or controlled

    substances.

                               The Designer Anabolic Steroid Control Act

           On December 18, 2014, the Designer Anabolic Steroid Control Act of 2014 ("DASCA")

    was signed into law and took effect. Among other things, DASCA significantly expanded the

    definition of "anabolic steroid" in the Controlled Substances Act ("CSA"), of Title 21 of the United

    States Code. After the passage of DASCA, a "controlled" anabolic steroid included substances

    listed in the CSA, and also included any drug or substance derived from, or with a chemical

    structure substantially similar to, one or more listed anabolic steroids so long as such drug or

    substance: (a) was created or manufactured with the intent of producing a drug or substance that

    promotes muscle growth or causes a pharmacological effect similar to that of testosterone; or (b)

    has been, or is intended to be, marketed or promoted in any way that suggests that consuming the



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    drug or substance will promote muscle·growth or any other pharmacological effect similar to that

    of testosterone.

           The Defendant and his co-conspirators were aware of DASCA even before it became law,

    and knew that DASCA would negatively impact their business and their industry. Prior to the

    law's enactment in December 2014, the Defendant and Braun received a proposal from a lobbying

    firm, which included a proposed plan to stop or delay the enactment of DASCA. The lobbying

    proposal described the bill's effect as "expand[ing] the definition of anabolic steroids in the

    Controlled Substances Act (CSA) to include 25 specific substances and any drug or hormonal

    substance that is derived from or has a chemical structure substantially similar to, one or more of

    the listed anabolic steroids." Supplement retailer Leonard Shemtob ("Shemtob") emailed the

    Defendant a copy of the lobbying proposal, and the Defendant, Braun, Shemtob and the lobbying

    firm joined at least one telephone call during which they discussed the substance ofDASCA. The

    Defendant and Braun also discussed DASCA with a silent owner of Blackstone, who emailed the

    Defendant and Braun information on or about December 22, 2014, explaining how DASCA

    applied to their designer steroid products, and stating that Blackstone must stop selling those

    products and destroy remaining products in their inventory by sending them to a medical disposal

    company.

           After DASCA took effect on December 18, 2014, the Defendant, Braun, Boccuzzi, and

    Blackstone continued to sell their designer steroid products, Super DMZ and Alpha-1 Max, but

    increasingly did so by selling the products through Ventrella's companies, which manufactured

    and distributed the product on Blackstone's behalf as a Fight Pharm product, using a similar

    product name.




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            After DASCA went into effect as law, the Defendant, Braun, Blackstone, and Boccuzzi

     sold off the remaining stock of products understanding that the steroids in products such as

     EpiSmash, Halo Extreme, and Super Trenabol, were now listed as controlled substances under the

     CSA. These products were labeled and intended to include the anabolic steroids epistane, halodrol,

     and trendione, respectively, which were listed as controlled substances after DASCA became law.

     Sales of these products by the Defendant, Braun, Blackstone, and Boccuzzi continued into 2015

     even after Blackstone required employees to sign a document acknowledging that such listed

     products were "Banned Prohormones."

            The Defendant and his co-conspirators knew that, even after December 18, 2014, Super

     DMZ contained the same ingredients, methylstenbolone and dimethazine, and continued to be

     marketed as a muscle growth product. They also knew that Alpha-1 Max contained methyl-1-

     etiocholenolol, and continued to be marketed as a muscle growth product. They knew that

     methylstenbolone and dimethazine and methyl-1-etiocholenolol were derived from or

     substantially similar to other listed anabolic steroids, and therefore, were anabolic steroids and

     illegal under federal law. In fact, the superdmz.com website, and later Blackstone's website,

     included structural diagrams of these chemicals and marketing ma!erials explaining how the

     chemicals were extremely similar to well-known anabolic steroids.         Blackstone employees,

     including Boccuzzi, were expected to be familiar with the Blackstone website.

            The Defendant and his co-conspirators openly sold Super DMZ and Alpha-1 Max until at

     least March 2015. They then removed the products from Blackstone's website and instructed

     salespersons to tell consumers that the products were discontinued. However, the Defendant,

     Braun, Boccuzzi, and other co-conspirators continued to sell the steroid products to wholesale

     customers directly and through Fight Pharm and VBS. For example, on August 22, 2015, Braun
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     asked the Defendant in an email, "I guess tell the people who want [prohormones] about Fight

     phann [sic] right Aaron?" The Defendant responded, "Exactly!" Shortly thereafter, a sales

     employee informed the Defendant, Braun, Boccuzzi, and others that he had recently sold 30 units

     of Methyl DMZ, a Fight Phann product similar to Super DMZ RX 2.0 that contained anabolic

     steroids. In an email on October 27, 2015, the Defendant told a Blackstone employee asking about

     Fight Phann, "You can sell them. Just make SURE to explain that is NOT our company." Braun

     responded to the email chain, "Its [sic] very important people do not think we have anything to do

     with this!"

            Between December 18, 2014, and February 2017, the Defendant, Braun, Boccuzzi,

     Blackstone and other members of the conspiracy caused to be manufactured and distributed into

     commerce thousands of 60-capsule bottles that they knew contained methylstenbolone,

     dimethazine, and/ormethyl-1-etiocholenolol in violation of the Controlled Substances Act. These

     products included Super DMZ RX 2.0, Alpha-1 Max, Fight Phann versions of these products, and

     other product names.

            The Defendant Impeded FDA Efforts to Protect Consumers from Unsafe Products

            From in or around August 2012 through in or around February 2017, the Defendant, Braun,

     Boccuzzi, Blackstone, and others knowingly agreed to engage in conduct that interfered with or

     obstructed the FDA's lawful authority to protect consumers in overseeing and regulating food,

     drugs, and dietary supplements, using deceit, dishonesty, and other dishonest means.

            Among other things, the Defendant helped conceal his and Braun's role in Fight Phann

     and VBS so that Ventrella could manufacture products labeled as dietary supplements that were

     unlawful under the FDCA and the CSA. Moreover, the Defendant knew that Fight Phann, and its

     successor companies, fraudulently imported raw ingredients for their products from China because



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              they could not lawfully purchase the same ingredients from within the United States without

              attracting the scrutiny of the FDA.

                     When Blackstone could no longer publicly sell its steroid products, the Defendant, Braun,

              and Blackstone introduced a new category of products containing selective androgen receptor

              modulators, or SARMs, which also were soldjn violation of the FDCA. The active ingredients in

              these products were not dietary ingredients, but were research chemicals under clinical

              investigation to build muscle. In 2015, Blackstone received a Warning Letter from the FDA

              warning that Blackstone product Angel Dust, which contained the stimulant Amp Citrate, aka

              DMBA, was being unlawfully marketed as a dietary supplement and that Blackstone should

              immediately cease distribution or risk enforcement. The Defendant, Braun, and Blackstone sold

              all of their remaining product, rather than immediately stopping the distribution.

                     In another example of the Defendant's efforts to impede FDA regulation, the Defendant

              sent an email on or about June 24, 2015 to Braun and Blackstone employee David Winsauer,

              stating, "We didn't want any SARMS advertised in Mags ... Our OSTAPURE ad in MD

              [Muscular Development magazine] may cause some problems now. Please never do that again.

              You had 1/3 page for OSTAPURE in the most recent one and now someone who saw it might

              report us to FDA." In addition, when a dietary supplement competitor sued Blackstone for making

              products that were unlawful, Blackstone filed a sworn declaration from Aaron Singerman under

              penalty of perjury in that litigation, falsely stating that Blackstone had stopped selling the products

              Angel Dust and Super DMZ after April 7, 2015, when in fact, as the Defendant well knew, they

              continued to sell the products.

                     The Defendant knew that many of Blackstone's other products, including products

             · containing synthetic stimulants DMAA and DMBA, and products containing the nootropic



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     chemical picamilon, were aJso sold in violation of the FDCA. The Defendant and Braun also knew

     that Blackstone disregarded complaints from consumers who reported getting ill or injured from

     Blackstone's products. Blackstone did not notify the FDA of such complaints, even when required

     bylaw.

                                            Proceeds of the Drug Conspiracy

              The Defendant, Braun, Boccuzzi, and Blackstone earned significant proceeds from the sale

     of anabolic steroids during the conspiracy. The Defendant's direct and indirect proceeds included

     money he withdrew each month from Blackstone's bank account, money he withdrew from Fight

     Pharm and VBS bank accounts, a $218,117 payment for a Rolls Royce Ghost automobile for the

     Defendant's personal use, the value of his ownership of Blackstone shares, and other benefits that

     totaled at least $2,900,000.

                                                               JUAN ANTONIO GONZALEZ
                                                               UNITED STATES ATTORNEY

                                                               GUSTAV W. EYLER
                                                               DIRECTOR
                                                               U.S. DEPARTMENT OF JUSTICE
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